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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-5046                                                     September Term, 2024
                                                                            1:25-cv-00402-AHA
                                                                            1:25-cv-00400-AHA
                                                       Filed On: April 22, 2025 [2112153]
AIDS Vaccine Advocacy Coalition and
Journalism Development Network, Inc.,

                   Appellees

         v.

United States Department of State, et al.,

                   Appellants


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Consolidated with 25-5047

                                          MANDATE

      In accordance with the order of February 26, 2025, and pursuant to Federal Rule
of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk




Link to the order filed February 26, 2025
